Case: 2:14-cv-00071-ALM-NMK Doc #: 10 Filed: 04/16/14 Page: 1 of 1 PAGEID #: 21




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO

RANDALL QUESINBERRY,                        }      Civil Action 2:14-cv-71
                                            }
       Plaintiff,                           }      JUDGE: MARBLEY
                                            }
       v.                                   }
                                            }
PENN CREDIT CORPORATION,                   )
                                           }
       Defendant.                          }
-----------------------------I



                     ORDER DISMISSING CASE WITH PREJUDICE

       THIS CAUSE having come before the Court on the Plaintiffs Notice of Voluntary

Dismissal With Prejudice, it is hereby ORDERED that this case is dismissed with prejudice.


SO ORDERED THIS      ___l_k_ day of   Apr:)          '2014.
